              Case 1:22-cr-00157-MLB Document 1-1 Filed 05/02/22 Page 1 of 1



                                      UNITED STATES DISTRICT COURT
JESSICA J. LYUBLANOVITS                            NORTHERN DISTRICT OF FLORIDA                                              ELIZABETH LAWRENCE
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                                                  Reply to : Pensacol~ Division
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                                                      ~~f;J~
   April 27, 2022                            ..~~\.,<c-
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   Clerk, U.S. District Court
                                                                     ~
   Northern District of Georgia
   2211 United States Courthouse                            ~,f,
   75 Ted Turner Drive , SW
   Atlanta , GA 30303-3309

               RE:         GA/ND# unkowr;,
                           FL/ND #5 :16cr9(1)-RH
                           USA v. MIGUEL MORALES MALDONADO

   Dear Clerk:

         In connection with the Transfer of Jurisdiction in the above captioned matter,
   enclosed is the Transfer of ~urisdiction Form and certified copies of the following
   documents:

                           Indictment
                           Judgment
                           Docket Sheet

         Please acknowledge receipt on the enclosed copy of this letter and return it to
   the Pensacola Division .

                                                                                       Sincerely,
                                                                                       Jessica Lyublanovits , Clerk of Court


                                                                                       sf Kristin Cowdell
                                                                                       Clerk, US District Court
                                                                                       100 N. Palafox St.
                                                                                       Pensacola, FL 32502
                                                                                       (850) 691-0770


     The mission of the Office of the Clerk of the Northern District of Florida is to pro vide superior service to the public and the Court.


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